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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                         :
                                                 :       CASE NO. 1:23-cr-0108 (TSC)
                v.                               :
                                                 :
MICHAEL JOHN DILLON,                             :
                                                 :
                        Defendant.               :

               GOVERNMENT’S OPPOSITION TO DEFENDANT’S
          MOTION TO LIFT PROTECTIVE ORDER AND ORDERS IN LIMINE

        Defendant Michael Dillon asks this Court to lift “all protective orders and orders in limine

limiting evidence and discussion of CCTV footage locations.” (ECF No. 47.) Dillon claims that

the U.S. House of Representatives’ recent announcement of its intent to release surveillance

footage from January 6, 2021 renders “the grounds and basis for this Court’s protective orders and

certain rulings in this case . . . moot.” Id. Dillon fails to articulate any factual or legal basis for

such relief, and his motion should be denied.

        On April 27, 2023, this Court issued, with Dillon’s consent, a Protective Order governing

discovery “[t]o expedite the flow of discovery material between the parties and adequately protect

the United States’ legitimate interests.” (ECF No. 19.) That Protective Order, identical to those

entered in hundreds of other January 6 cases, delineates between categories of information across

case-specific and global discovery material which the United States may designate as “Sensitive”

or “Highly Sensitive,” thus subjecting it to differing restrictions on access. Surveillance camera

footage is only one of several enumerated categories of discovery that the United States may so

designate. Id. at 1. The Order requires the parties to “make a good faith effort to resolve any

dispute about a sensitivity designation before requesting the Court’s intervention,” and further

states its restrictions “shall not limit either party in the use of the materials in judicial proceedings.”



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Id. at 3, 4. Finally, the Protective Order expressly excludes from its reach, “[m]aterials that the

defense obtains by means other than discovery.” Id. at 5 ¶ 11(c).

       On November 17, 2023, the Speaker of the U.S. House of Representatives announced that

he would be releasing approximately 40,000 hours of Capitol surveillance footage taken on

January 6, 2021. Speaker Mike Johnson (@SpeakerJohnson), Twitter (Nov. 17, 2023, 4:33 PM),

https://twitter.com/SpeakerJohnson/status/1725628274657706198.        The announcement makes

clear that the House is not and has not released all USCP CCV footage from January 6, 2021. The

Speaker stated that the Committee on House Administration “would move as quickly as possible”

to upload a portion of USCP CCV footage to the Committee’s public website, and as of the date

of this motion, the Committee’s online viewing room appears to have made only approximately

90 clips of surveillance footage publicly available. See https://cha.house.gov/cha-subcommittee-

reading-room-fe781e74-d577-4f64-93cc-fc3a8dd8df18. The Speaker also stated that prior

uploading any footage, the Committee would process the USCP CCTV footage to “blur[] the faces

of private citizens on the yet unreleased tapes to avoid any persons from being targeted for

retaliation of any kind and segregat[e] an estimated 5% of the videos that may involve sensitive

security   information    related   to   the building   architecture.” Speaker Mike       Johnson

(@SpeakerJohnson),           Twitter         (Nov.       17,        2023,        4:33        PM),

https://twitter.com/SpeakerJohnson/status/1725628274657706198.         In other words, Speaker

Johnson and the Committee have recognized the continued privacy and security concerns in

releasing such footage.

       Dillon’s motion does not articulate a reason why the Committee’s public release of a

limited tranche of the Capitol CCV footage justifies the wholesale elimination of the Protective




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Order. 1 As a factual matter, the Protective Order by its own terms does not apply to surveillance

footage released to the public by the Committee, which Dillon is free to use. The Protective Order

only governs any materials Dillon obtained through discovery in this case (including global

discovery)—and not what other branches of government might disclose or what Dillon might gain

access to independently from the discovery process.

       Dillon also does not explain how the Committee’s release of a limited tranche of Capitol

surveillance footage eliminates the national security interest in protecting any such footage—an

interest also recognized by the Speaker’s announced process. See United States v. Cordova, 806

F.3d 1085, 1090 (D.C. Cir. 2015) (per curiam) (citation omitted) (“[A]mong the considerations to

be taken into account by the court [in imposing a protective order are] the safety of witnesses and

others, a particular danger of perjury or witness intimidation, [and] the protection of information

vital to national security.”); ECF No. 38-1 at ¶ 2 (Decl. of Thomas DiBiase). As another judge of

this Court noted, “that [other] video footage of the January 6 events is publicly available does not

diminish the need for confidentiality of the [CCTV] footage . . . .” United States v. Cudd, 534 F.

Supp. 3d 48, 54 (D.D.C. 2021); cf. United States v. William Pope, 21-cr-128-RC (ECF No. 103)

(April 26, 2023) (“The fact of that mediated access [to Capitol surveillance footage by the Tucker

Carlson Tonight show] alone . . . does not defeat the security interest advanced by the protective

order in preventing unmediated access to Highly Sensitive material by Defendant.”).

       Finally, Dillon fails to explain why restrictions are no longer needed on the other categories

of discovery subject to the Protective Order. In this case, that includes the reports and identity of


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  Because this Court has yet to rule on the United States’ motion in limine to limit evidence
regarding the specific location of Capitol surveillance camera (ECF No. 38), Dillon’s further
request to lift “orders in limine limiting evidence and discussion of CCTV footage locations” is
unripe. The Government will address the Committee’s release of footage in its reply brief in
support of that motion.

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witnesses and informants, personally identifiable information, sealed search warrants, and law

enforcement reports, which all remain worthy of protection. See Cudd, 534 F. Supp. 3d at 54.

(“How well the Capitol riot has been publicized . . . does not make the items that the protective

order might cover—including ‘[p]ersonal identity information’ or information about ‘individuals

that do not appear to be related to the criminal conduct in this case,’ [. . .]—any less worthy of

protection.”).

       Dillon’s motion provides no reason to revisit the Protective Order entered in this and

hundreds of other cases. This Court should deny his motion.

                                             Respectfully submitted,
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